Case 2:20-cv-06059-VAP-E   Document 17-3   Filed 09/08/20   Page 1 of 7 Page ID
                                   #:238




                       EXHIBIT 2
Case 2:20-cv-06059-VAP-E          Document 17-3          Filed 09/08/20      Page 2 of 7 Page ID
                                          #:239




How Does the SmileDirectClub Aligner Therapy System Work?

SmileDirectClub's aligner therapy system is a series of invisible, BPA-free plastic aligners that
apply subtle pressure to gradually shift your teeth. The invisible aligners are made to be worn in
a specific sequence prescribed by your treating dentist. Each new aligner will gradually shift
teeth. While every case is unique to each patient, the process typically takes approximately 4 to 8
months to complete. During treatment, an optional teeth whitening system may be used. You
should be aware of the benefits, inconveniences and risks related to using aligners and teeth
whitening products. Please be advised that you and your dentist may not be able to achieve all

guidelines and parameters that must be followed with remote clear aligner therapy. If, with your
chief complaint in mind, your treating dentist determines you are a candidate for treatment using
the SmileDirectClub aligner therapy system -                                                      -
you will receive the best possible outcome available using the SmileDirectClub clear aligner
therapy treatment. Feel free to contact the SmileDirectClub patient care team to discuss any
concerns you may have or to get in touch with your treating dentist.



Your aligner therapy treating dentist has asked us to let you know the following:



Aligner Benefits

       DISCREET The aligners are made of clear, BPA-free plastic. The trays are thin, light
       weight and nearly invisible when worn - many people won't even know you're wearing
       them.
       HYGIENE Because the aligners can be removed, you can eat, brush and floss normally,
       and the process of using aligners may improve your oral hygiene habits.



Whitening Benefits

       WHITE TEETH         The whitening system may lighten the color of your teeth by removing
       stains.


                            Legal Document v14, type: consent, country: US
Case 2:20-cv-06059-VAP-E           Document 17-3          Filed 09/08/20      Page 3 of 7 Page ID
                                           #:240




Aligner Risks

       DISCOMFORT Your mouth is sensitive, so you can expect an adjustment period and
       some minor discomfort from moving your teeth. You may also experience gum, cheek or
       lip irritation when you initially use an aligner while these tissues adjust to contact with
       the aligner trays.
       ALLERGIC REACTION It is possible for some patients to become allergic to the
       materials used to create your aligners. If you experience a reaction, please immediately
       discontinue use and inform your primary care provider and us so that we may advise your
       treating dentist.
       TEMPORARY SIDE EFFECTS You may experience temporary changes in your
       speech or salivary flow while using aligners because of the presence of the aligner tray in
       your mouth.
       CAVITIES, GUM OR PERIODONTAL DISEASE Cavities, tooth decay, periodontal
       disease, gingival recession, inflammation of the gums or permanent markings (e.g.
       decalcification) may occur or accelerate during use of aligners. These reactions are more
       likely to occur if you eat or drink lots of sugary foods or beverages, or do not brush and
       floss your teeth before inserting the aligners, or do not see a dentist for preventative
       check ups at least every six months. In addition, in some circumstances discoloration or
       white spots may occur; small cavities may increase in size, causing sensitivity and, in
       some cases, pain or tooth breakage; gingival inflammation may increase, causing
       soreness and/or bleeding. If underlying periodontal conditions persist unchecked, they
       may become more prevalent and lead to tooth loss. You may have to discontinue aligner
       treatment. All of these symptoms will require you to seek care from a dentist of your
       choice.
       SHORTENING OF THE ROOTS/RESORPTION The roots of some patients' teeth
       become shorter (resorption) during use of aligners. It is not possible to predict which
       patients will experience it, but patients who have had braces in the past are at higher risk.
       Resorption can impact the long term health of teeth. If resorption is detected by your
       regular dentist during orthodontic treatment, treatment may need to be discontinued or
       tooth loss may occur. If a primary (or "baby") tooth is present, any orthodontic movement
       would accelerate the resorption process, leading to its loss.
       NERVE DAMAGE IN TEETH Tooth movement may accelerate nerve damage or
       nerve death, resulting in a root canal, other dental treatment, or loss of the tooth. It is not
       possible to predict which patients may experience nerve damage, but patients who have
       experienced tooth injury in the past or had restoration work on a tooth are at higher risk.
       If your regular dentist detects nerve damage prior or during your aligner therapy
       treatment, treatment may need to be discontinued or tooth loss can occur.
       TEMPOROMANDIBULAR JOINT DYSFUNCTION (TMJ) Problems may occur in
       the jaw joints during aligner therapy treatment, causing pain, headaches or ear problems.
       The following factors can contribute to this outcome: past trauma or injury, arthritis,
       hereditary history, tooth grinding or clenching and some medical conditions. In the event
       that you experience any of these symptoms, please see your regular dentist.
       IMPACTED AND SUPERNUMERARY TEETH Teeth may become impacted or
       trapped below the bone or gums. Sometimes some patients are born with "extra" or


                             Legal Document v14, type: consent, country: US
Case 2:20-cv-06059-VAP-E         Document 17-3          Filed 09/08/20      Page 4 of 7 Page ID
                                         #:241


      supplementary teeth. If you have impacted, un erupted or supplementary teeth, aligners
      are not an ideal option.
      SUPRAERUPTION If a tooth is not properly covered by an aligner, it may migrate
      outwards (supraeruption) leading to difficulty cleaning, gum disease, tooth decay and loss
      of tooth.
      PREVIOUS DENTAL TREATMENT Aligners will not move implants and may not be
      effective on some dental restorations, such as bridges. Additionally, dental restorations,
      such as crowns, veneers, or bridges, may require replacement due to tooth movement.
      PARTIAL OR FULL DENTURES If you decide to move forward with orthodontic
      clear aligner therapy with the presence of a partial or full denture you may need to
      replace the partial or full denture after you complete your orthodontic clear aligner
      therapy as it may no longer fit due to tooth movements or changes in your bite. Any
      necessary replacements will be at your own expense and is not be part of the orthodontic
      clear aligner therapy provided by your SmileDirectClub affiliated doctor.
      ORAL PIERCINGS Piercings are contraindicated during aligner therapy and therefore
      should be removed during treatment. In some circumstances, failure to do so could result
      in fractures to the aligners or broken teeth leading to termination of aligner therapy
      treatment.
      BONDED RETAINER Bonded retainers, attachments and buttons are contraindications
      during aligner therapy and should be removed prior to aligner therapy treatment. Should
      you choose to proceed with aligner therapy treatment, you must first have your bonded
      retainers, attachments or buttons digitally removed for purposes of creating your
      treatment plan and expect to treat the arch on which they are placed at the time of your
      imaging. Further, you agree that you are responsible for having such bonded retainers,
      attachments or buttons removed by your regular dentist before beginning aligner therapy
      treatment. You are also responsible for consulting with your regular dentist regarding the
      potential consequences of their removal and obtaining, at your expense, all dental care
      required for their removal. By signing the consent below, you are thereby confirming that
      you are aware that invisible aligners cannot move your teeth effectively with these
      devices in place and that they must be removed prior to commencing your aligner therapy
      treatment with the SmileDirectClub aligners.
      OTHER RISKS Orthodontic treatment and the movement of teeth bring inherit and
      potential risks and side effects. In the case of aligner therapy, such risks include, but are
      not limited to, discomfort, swelling, sensitivity, numbness, sore jaw muscles, allergic
      reaction to dental materials, and unforeseen conditions that may be revealed during
      treatment which may necessitate extension of the original procedures or the
      recommendation of other patient specific procedures. Additionally, the tissue attachment
      between the front teeth may become inflamed, which is a common result of aligner
      therapy. The procedure required to treat this, known as a frenectomy, is not a part of your
      prescribed aligner therapy treatment, but is a recommended adjunctive treatment for the
      best outcome and long-term stability of your smile.
      SAFETY Aligners may break, be swallowed or inhaled. You may also have an allergic
      reaction to the materials used in the aligners.
      GENERAL HEALTH PROBLEMS Overall medical conditions such as bone, blood or
      hormonal disorders, and many prescription and non prescription drugs (including
      bisphosphonates) can affect the movement of the teeth and the outcome.
      DURATION AND RESULT The length of time you wear the aligners and the results
      depend on many factors, including, but not limited to: the severity of your case, the shape

                           Legal Document v14, type: consent, country: US
Case 2:20-cv-06059-VAP-E          Document 17-3          Filed 09/08/20      Page 5 of 7 Page ID
                                          #:242


       of your teeth, or the amount of time you wear the aligners per day. The average person
       generally wears the aligners for 4 8 months, but your particular rate of tooth movement
       is impossible to predict and could take longer. If the duration is extended beyond the
       original estimate, additional fees may be assessed. Difficult cases may require IPR and/or
       extractions with traditional braces for ideal results. Please note that the related additional
       costs will be your responsibility.
       RETAINERS Teeth may move again after you stop wearing the aligners. Retainers will
       be required to keep your teeth in their new positions for a lifetime. Your retainer should
       be worn full time for 2 weeks and then nightly from then on. You can expect a retainer to
       last about one year, but this can vary greatly from patient to patient.
       BITE ADJUSTMENT Your bite may change during treatment and may result in
       temporary discomfort. Your bite may require adjustment after use of the aligners.
       BLACK TRIANGLES Teeth which have been overlapped for long periods of time may
       be missing the gum tissue and when these teeth are aligned, a "black triangle" appears
       below the interproximal contact.



Whitening Risks

       TYPE OF DISCOLORATION The whitening system will not lighten all teeth or
       restorations in teeth. Blue, gray, multi colored, or striped discoloration may not respond
       to whitening. If you have gum recession or periodontal disease, the area of the tooth near
       the gum line may not respond to the whitening. Similarly, fillings, cavities or other
       damage will not lighten. Use of cigarettes, wine, coffee, tea, and similar stain producing
       agents will also slow whitening process.
       WHITE/TOOTH COLORED FILLINGS White or tooth colored fillings will not
       lighten or may become softer after using the whitening system. These fillings may need
       to be replaced after whitening to match lighter teeth or if they become soft. Please note
       that the related additional costs will be your responsibility.
       SENSITIVITY AND IRRITATION Gum irritation may arise from excessive use of
       whitening system, as might throat irritation if whitening agent is swallowed. Tooth
       sensitivity may occur during initial use. In addition, discomfort and possible permanent
       nerve damage can arise if whitening agent leaks into damaged or cracked teeth fillings.
       REVERSIBLE Whitened teeth can darken again over time. Reduction of certain types
       of foods and beverages will reduce staining of teeth.



Healthy Teeth & Gums

SmileDirectClub aligners are most effective if your teeth and gums are healthy. It is your
responsibility to see a dentist within 6 months prior to starting SmileDirectClub aligners, to
verify that your teeth and gums healthy prior to using SmileDirectClub aligners. It is also your
responsibility to maintain and have follow-up dental care during and after SmileDirectClub
aligner therapy.



                            Legal Document v14, type: consent, country: US
Case 2:20-cv-06059-VAP-E           Document 17-3          Filed 09/08/20      Page 6 of 7 Page ID
                                           #:243




AGREEMENT TO ARBITRATE

AGREEMENT TO ARBITRATE I hereby agree that any dispute regarding the products and
services offered through SmileDirectClub and/or by my affiliated dental professionals, including
but not limited to medical malpractice disputes, will be resolved through final and binding
arbitration before a neutral arbitrator and not by lawsuit filed in any court, except claims within
the jurisdiction of Small Claims Court. I understand that I am waiving any right I might
otherwise have to a trial by a jury. I understand that to initiate the arbitration, I must send a
Demand for Arbitration via U.S. Mail, postage prepaid to Office of the General Counsel,
SmileDirectClub, LLC, Bank of America Plaza, 414 Union Str., 8th Floor, Nashville, Tennessee
37219. The Demand for Arbitration must be in writing to all parties, identify each defendant,
describe the claim against each party, state the amount of damages sought, and include the names
of the patient and his/her attorney. I agree that the arbitration shall be conducted by a single,
neutral arbitrator selected by the parties and shall be resolved using the rules of the American
Arbitration Association.



I further agree that any arbitration under this agreement will take place on an individual basis,
that class arbitrations and class actions are not permitted, and that I am agreeing to give up the
ability to participate in a class action.



Informed Consent

TELEHEALTH -                                                                                     -
licensed dentist and I can engage in telehealth as part of my aligner therapy treatment. I
understand that "telehealth" includes the practice of health or dental care delivery, diagnosis,
consultation, treatment, and transfer of medical/dental information, both orally and visually,
between me and a state licensed dental professional who has engaged SmileDirectClub to
provide certain non-clinical dental support organization services.



By signing this Informed Consent, I understand that I am certifying that: My dentist cleaned my
teeth. My dentist took x-rays of my teeth. My dentist checked for and repaired cavities, loose or
defective fillings, crowns or bridges. My dentist checked my x-rays and I have no shortened or
resorbed roots. My dentist checked my x-rays and I have no impacted teeth. My dentist has
probed or measured my gum pockets and says I do not have periodontal or gum disease. My
dentist preformed a full oral-cancer screening in the last 6 months and I do not have oral cancer.
I have no pain in any of my teeth. I have no pain in my jaws. I have no loose teeth. I have no
                nd all of my permanent teeth are present.




                             Legal Document v14, type: consent, country: US
Case 2:20-cv-06059-VAP-E           Document 17-3          Filed 09/08/20      Page 7 of 7 Page ID
                                           #:244


I further consent to SmileDirectClub sharing my personal and medical information with third
parties, business associates, or affiliates for the purposes of aligner therapy treatment planning
and/or manufacturing purposes.



I certify that I can read and understand English. I acknowledge that neither the dentist
prescribing my aligner therapy treatment nor SmileDirectClub has made any guarantee or
assurance to me. I have read this form and fully understand the benefits and risks listed in this
form related to my use of SmileDirectClub aligners and whitening system. I understand that
SmileDirectClub contracts with professional corporations which have engaged licensed dentists
and orthodontists in the state in which I reside. I hereby provide my consent for one or more of
the dentist and orthodontists affiliated with that professional corporation to review my records
for potential evaluation, diagnosis, and treatment. I have had an opportunity to discuss and ask
any questions about aligner therapy treatment with a licensed state dentist who engaged
SmileDirectClub to facilitate my treatment. I understand that neither the dentist who prescribed
my aligner therapy treatment nor SmileDirectClub can guarantee any specific result or outcome.
I further understand that my invisible aligner therapy treatment will only address localized bite

                                                    ic classifications II and III of malocclusion
directly, I will need to seek more comprehensive treatment via my local dental professional.
Because I am choosing not to engage the in patient services of a local dental professional, I
understand and accept that my teeth will be straighter than they currently are but may still be
compromised.



I hereby grant SmileDirectClub the right to use photographs taken of me and my first name for
educational and/or marketing purposes. I acknowledge that because my participation is
voluntary, I will receive no financial compensation. I also agree that my participation confers
upon me no right of ownership. I release SmileDirectClub from liability for any copyright,
trademark, or other Intellectual Property-related claims by me or any third party in connection
with my participation or use of the invisible aligner therapy treatment. I also understand that my
treatment is not conditioned on my agreement to the use of my photographs or name, and that I
can revoke this grant at any time by sending a written revocation to SmileDirectClub, who will
then inform my treating dentist.



In the event that the dentist who reviews my chart and other information that I submit determines
that I am not an appropriate candidate for the SmileDirectClub aligner therapy treatment, but that
I am a candidate for more advanced clear aligner treatment, I hereby consent to having all of my
records in SmileDirectClub's possession (including without limitation dental impressions, digital
scans, photographs, and medical history documentation) sent to Align Technology, Inc. for
further review and treatment planning, including, but not limited to, contacting me to refer my
case to an Invisalign certified provider of my choosing or to market and sell me Invisalign
products or services.


                             Legal Document v14, type: consent, country: US
